08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 1 of 56



                                 Exhibit C1
                              Monthly Statement for
                       June 1, 2011, through June 30, 2011
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 2 of 56




                                     C1-2
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 3 of 56




                                     C1-3
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 4 of 56




                                     C1-4
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 5 of 56




                                     C1-5
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 6 of 56




                                     C1-6
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 7 of 56




                                     C1-7
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 8 of 56




                                     C1-8
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 9 of 56




                                     C1-9
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 10 of 56




                                     C1-10
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 11 of 56




                                     C1-11
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 12 of 56




                                     C1-12
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 13 of 56




                                     C1-13
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 14 of 56




                                     C1-14
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 15 of 56




                                     C1-15
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 16 of 56




                                     C1-16
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 17 of 56




                                     C1-17
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 18 of 56




                                     C1-18
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 19 of 56




                                     C1-19
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 20 of 56




                                     C1-20
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 21 of 56




                                     C1-21
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 22 of 56




                                     C1-22
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 23 of 56




                                     C1-23
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 24 of 56




                                     C1-24
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 25 of 56




                                     C1-25
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 26 of 56




                                     C1-26
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 27 of 56




                                     C1-27
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 28 of 56




                                     C1-28
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 29 of 56




                                     C1-29
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 30 of 56




                                     C1-30
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 31 of 56




                                     C1-31
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 32 of 56




                                     C1-32
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 33 of 56




                                     C1-33
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 34 of 56




                                     C1-34
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 35 of 56




                                     C1-35
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 36 of 56




                                     C1-36
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 37 of 56




                                     C1-37
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 38 of 56




                                     C1-38
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 39 of 56




                                     C1-39
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 40 of 56




                                     C1-40
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 41 of 56




                                     C1-41
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 42 of 56




                                     C1-42
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 43 of 56




                                     C1-43
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 44 of 56




                                     C1-44
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 45 of 56




                                     C1-45
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 46 of 56




                                     C1-46
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 47 of 56




                                     C1-47
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 48 of 56




                                     C1-48
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 49 of 56




                                     C1-49
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 50 of 56




                                     C1-50
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 51 of 56




                                     C1-51
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 52 of 56




                                     C1-52
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 53 of 56




                                     C1-53
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 54 of 56




                                     C1-54
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 55 of 56




                                     C1-55
08-13555-mg   Doc 23305-5   Filed 12/14/11 Entered 12/14/11 10:59:53   Exhibit C1
                                   Pg 56 of 56




                                     C1-56
